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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                v.                               :        Case No. 23-cr-00070-CJN
                                                 :
JESSE JAMES RUMSON,                              :
                                                 :
                        Defendant.               :


  GOVERNMENT’S REPLY TO DEFENDANT’S RESPONSE AND OPPOSITION TO
        THE UNITED STATES’ MOTION FOR PROTECTIVE ORDER

        The United States of America hereby respectfully files this Reply to the Defendant’s

Response and Opposition to the United States’ Motion for Protective Order (the

“Response,” ECF No. 17). As an initial matter, the protective order at issue has been entered in

nearly 1,000 criminal cases stemming from the events at the Capitol Building on January 6, 2021

as an efficient way to encourage widespread dissemination of voluminous discovery. Courts in

this District have addressed some of the factual claims in Defendant’s Response and, over

objection, have held the proposed protective order is “based on good cause” and does not violate

a defendant’s “right to conduct his defense.” See, e.g., ECF No. 103, April 26, 2023 Order, United

States v. Pope, Case No. 21-cr-00128-RC; see also United States v. Clark, Case No. 22-cr-409-

APM, February 7, 2023 Hr’g Tr. 14:25-15:8 (“There are a number of countervailing considerations

here that . . . are valid and legitimate . . . there is a great deal of sensitive material in the databases,

both in terms of security footage . . . [and] personal identifying information . . . [and also, there is]

. . . an extraordinary amount of information about the government’s investigation into people who

have not been arrested, people who are simply subjects, or, importantly, people who are simply

with. And so those folks have a substantial privacy interest in ensuring that that information is

protected in an appropriate manner and not publicly disseminated.”) (Attached hereto for reference
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as Attachment A). For these reasons, the Government respectfully requests the Court enter the

proposed protective order.

                                              REPLY

       1.      Defendant is charged with his criminal activity on January 6, 2021. On that date,

as a Joint Session of the United States House of Representatives and the United States Senate

convened to certify the vote of the Electoral College of the 2020 U.S. Presidential Election,

members of a large crowd that had gathered outside, forced entry into the U.S. Capitol, including

by breaking windows and by assaulting members of law enforcement, as others in the crowd

encouraged and assisted those acts. Scores of individuals entered the U.S. Capitol without

authority to be there. As a result, the Joint Session and the entire official proceeding of the

Congress was halted until the Capitol Police, the Metropolitan Police Department, and other law

enforcement agencies from the city and surrounding region were able to clear the Capitol of

hundreds of unlawful occupants and ensure the safety of elected officials. This event in its entirety

is hereinafter referred to as the “Capitol Attack.”

       2.      The investigation and prosecution of the Capitol Attack will likely be one of the

largest in American history, both in terms of the number of defendants prosecuted and the nature

and volume of the evidence. Over 1,000 individuals have been charged in connection with the

Capitol Attack and the investigation continues. While most of the cases have been brought against

individual defendants, the Government is also investigating conspiratorial activity that occurred

prior to and on January 6, 2021. The spectrum of crimes charged and under investigation in

connection with the Capitol Attack includes (but is not limited to) trespass, engaging in disruptive

or violent conduct in the Capitol or on Capitol grounds, destruction of government property, theft

of government property, assaults on federal and local police officers, firearms offenses, civil



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disorder, obstruction of an official proceeding, possession and use of destructive devices, and

conspiracy.

       3.      Multiple individuals charged or under investigation are: (a) charged or expected to

be charged with crimes of violence; (b) associated with anti-government militia organizations and

other groups that deny the legitimacy of the United States government; (c) coordinated and/or

participated in the violent events which took place at the Capitol; and (d) have made statements

indicating an intention to continue in similar violent endeavors until the current administration is

overthrown. Dozens of the individuals charged were detained pending trial because a judicial

officer determined that the release of such person would not reasonably assure the appearance of

the person, as required; would endanger the safety of any other person or the community; and/or

would pose a risk of obstruction of justice.

       4.      In connection with the above-described cases and on-going investigations, law

enforcement and the Government have obtained and continue to obtain voluminous amounts of

information and evidence relating to both charged and uncharged individuals which may be

discoverable pursuant to Federal Rules of Criminal Procedure 16 and 26.2, Local Criminal Rule

5.1(a), the provisions of Brady v. Maryland, 373 U.S. 83, 87 (1963), Giglio v. United States, 405

U.S. 150, 153-54 (1972), and the Jencks Act, 18 U.S.C. § 3500. By way of illustration, as of

May 5, 2023, the information and evidence in the Relativity workspace amounts to over 5.03

million files (over 7.77 terabytes of information) and includes, but is not limited to: the results of

searches of 796 digital devices and 426 Stored Communications Act accounts; 6,100 FBI FD-302s and

related attachments (FD-302s generally consist of memoranda of interviews and other investigative

steps); 483 digital recordings of subject interviews; and 149,130 (redacted or anonymous) tip; over

30,000 files including body-worn and hand-held camera footage from five law enforcement agencies

and surveillance-camera footage from three law enforcement agencies have been shared to the defense

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evidence.com video repository. For context, the files provided amount to over nine terabytes of

information and would take at least 361 days to view continuously.

       5.      Many of the above-described materials may contain sensitive information, such as

(a) personal identity information as identified in Rule 49.1 of the Federal Rules of Criminal

Procedure, as well as telephone numbers, email addresses, driver’s license numbers, and similar

unique identifying information; (b) information regarding the government’s confidential sources;

(c) information that may jeopardize witness security; (d) contact information for, photographs of,

and private conversations with individuals that do not appear to be related to the criminal conduct

in this case; (e) medical or mental health information; (f) sources and methods law-enforcement

officials have used, and will continue to use, to investigate other criminal conduct related to the

publicly filed charges; and (g) tax returns or tax information. Additional sensitive materials

include surveillance camera footage from the U.S. Capitol Police’s extensive system of cameras

on U.S. Capitol grounds, see Attachments B, C (Declarations of Thomas A. DiBiase, General

Counsel for the United States Capitol Police), and repair estimates obtained from the Architect of

the Capitol that constitute procurement information.

       6.      Under the Federal Rules of Criminal Procedure, a court “may, for good cause, deny,

restrict, or defer discovery or inspection, or grant other appropriate relief” relating to discovery by

entering a protective order. Fed. R. Crim. P. 16(d)(1). “The burden of showing ‘good cause’ is on

the party seeking the order[.]” United States v. Cordova, 806 F.3d 1085, 1090 (D.C. Cir. 2015)

(citations and alterations omitted). Once a showing of good cause has been made, the court has

relatively unconstrained discretion to fashion an appropriate protective order. See United States v.

O'Keefe, No. 06-CR-0249, 2007 WL 1239204, at *2 (D.D.C. Apr. 27, 2007) (describing the court’s

discretion as “vast”); Cordova, 806 F.3d at 1090 (“[A] ‘trial court can and should, where

appropriate, place a defendant and his counsel under enforceable orders against unwarranted
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disclosure of the materials which they may be entitled to inspect.’” (quoting Alderman v. United

States, 394 U.S. 165, 185 (1969)).

       7.      “Protective orders vary in range and type ‘from true blanket orders (everything is

tentatively protected until otherwise ordered) to very narrow ones limiting access only to specific

information after a specific finding of need.’” United States v. Bulger, 283 F.R.D. 46, 52 (D. Mass.

2012). “Courts use protective orders . . . to expedite the flow of discovery in cases involving a

large amount of sensitive information.” United States v. Johnson, 314 F. Supp. 3d 248, 252

(D.D.C. 2018)(internal quotations and citations omitted).

       8.      Courts also use protective orders when necessary to protect the integrity of on-

going investigations. “[W]here public disclosure of certain materials might officially reveal the

sources and methods law-enforcement officials have used, and will continue to use, to investigate

other criminal conduct related to the publicly filed charges, courts have found it appropriate to

enter a protective order.” United States v. Smith, 985 F. Supp. 2d 506, 531 (S.D.N.Y. 2013), citing

United States v. Bin Laden, No. 98–CR–1023, 2001 WL 66393, at *2 (S.D.N.Y. Jan. 25,

2001)(noting that the court adopted a protective order because dissemination of discovery

materials would “jeopardize the ongoing Government investigation into the activities of alleged

associates of the Defendants”).

       9.      In determining whether to issue a protective order, courts also take into account

“the safety of witnesses and others, a particular danger of perjury or witness intimidation, and the

protection of information vital to national security.’” Cordova, 806 F.3d at 1090 (citations and

alterations omitted). “Considering the type of crime charged helps assess the possible threats to

the safety and privacy of the victim. Defendants accused of securities fraud or shoplifting, for

instance, may not pose as great a danger to victims as those charged with crimes of violence.”



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United States v. Dixon, 355 F. Supp. 3d 1, 4 (D.D.C. 2019). “A long record of convictions for

violent crimes may suggest a substantial danger to the safety of others. Similarly, a history of

failures to follow court orders may justify a more restrictive protective order.” Id.

       10.     In this case, there is good cause to enter the attached proposed protective order.

The entry of the order will facilitate the government’s ability to provide voluminous discoverable

materials expeditiously, while adequately protecting the United States’ legitimate interests. The

Order is reasonable – In the event of a dispute, the Order authorizes the government to remove or

reduce a sensitivity designation after a discussion with defense counsel. Further, whenever the

redaction of specified information will resolve the basis for which a sensitivity designation was

applied, the Order provides that the United States will agree to redaction, and such redaction will

render the materials at issue no longer subject to the Order. In addition, the Order explicitly

exempts materials that (1) are, or later become, part of the public court record, (2) were derived

directly from Defendant or that pertain solely to Defendant – e.g., Defendant’s own financial

records, telephone records, digital device downloads, social media records, electronic

communications, arrest records, and statements to law enforcement, or (3) that the defense obtains

by means other than discovery. Finally, the Order is clear that the burden for showing the need

for any sensitivity designation always remains with the United States.1



1
  The Defense Response mentions in passing a 1979 D.C. Circuit case holding that a protective
order issued under Rule 26 of the Federal Rules of Civil Procedure may not be based on “naked
speculation;” but, that case is not only irrelevant to this case because there are adequate legal and
factual grounds for a protective order, but that opinion has also since been overruled. See In re
Halkin, 598 F.2d 176, 189, 191 (D.C. Cir. 1979) (“the presumption under the discovery rules is
that a [party] may do anything it wants with discovery material, absent a protective order entered
‘for good cause shown’” and that such an order is “paradigmatic prior restraint” and requires close
scrutiny), overruled by Seattle Times Co. v. Rhinehart, 467 U.S. 20, 32 (1984) (“A litigant has no
First Amendment right of access to information made available only for purposes of trying his suit.
Thus, continued court control over the discovered information does not raise the same specter of
government that such control might suggest in other situations.”) (internal citations and quotations
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       11.     As noted above, courts in this District have recognized the propriety of the proposed

protective order. See, e.g., ECF No. 103, April 26, 2023 Order, United States v. Pope, Case No.

21-cr-00128-RC; see generally United States v. Clark, Case No. 22-cr-409-APM, February 7, 2023

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                                         CONCLUSION

       For these reasons, the protective order should be entered: to expedite the Government’s

provision of discoverable materials, and to adequately protect the United States’ legitimate

interests, the Government requests that pursuant to the Court’s authority under Fed. R. Crim. P.

16(d)(1), the Court enter the proposed order. ECF No. 15.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar Number 481052

                                      By:    /s/ Samantha R. Miller
                                             SAMANTHA R. MILLER
                                             Assistant United States Attorney
                                             New York Bar No. 5342175
                                             United States Attorney’s Office
                                             For the District of Columbia
                                             601 D Street, NW 20530
                                             Samantha.Miller@usdoj.gov

                                             SEAN P. MCCAULEY
                                             Assistant United States Attorney
                                             NY Bar No. 5600523
                                             United States Attorney’s Office
                                             601 D Street NW
                                             Washington, DC 20530
                                             Sean.McCauley@usdoj.gov




omitted).
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